Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 1 of 8
Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 2 of 8
                               ATTORNEY'S EYES ONLY

   1                           UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
   2
   3                           No. 9:19-cv-81160-RS
   4    APPLE, INC.,
   5                         Plaintiff,
   6    vs.
   7    CORELLIUM, LLC,
   8
                             Defendant.
   9    ________________________________/
 10                                         Fort Lauderdale, Florida
                                            April 13, 2020
 11                                         10:05 a.m. - 6:51 p.m.
 12
 13                          (ATTORNEY'S EYES ONLY)
 14                    VIDEO DEPOSITION OF CHRIS WADE
 15                                  (Via Zoom)
 16           Taken before SUZANNE VITALE, R.P.R., F.P.R.
 17     and Notary Public for the State of Florida at Large,
 18     pursuant to Notice of Taking Deposition filed in the
 19     above cause.
 20
 21
 22
 23
 24
 25

                                                                    Page 1

                                  Veritext Legal Solutions
                                       866 299-5127
Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 3 of 8
                               ATTORNEY'S EYES ONLY

   1    BY MR. GROSS:
   2           Q.     Sure.    I'm actually deliberately being
   3    general because my question was not intended to get
   4    into that level of specificity.
   5
   6
   7
   8                                               has any influence over,
   9    is it?
 10                   MR. VINE:      Objection.
 11                   THE WITNESS:        They're bound to the
 12
 13
 14                                                                      with
 15            the product, but we don't
 16
 17                   So I would say that, yes,
 18
 19                                                                  , they
 20            would be limited to those pieces.
 21     BY MR. GROSS:
 22            Q.     So there's
 23
 24
 25

                                                                 Page 206

                                  Veritext Legal Solutions
                                       866 299-5127
Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 4 of 8
                               ATTORNEY'S EYES ONLY

   1
   2                  You don't have insight into that, right?
   3                  MR. VINE:      Objection.
   4                  THE WITNESS:        No, that would, to me,
   5
   6    BY MR. GROSS:
   7
   8
   9           A.     No, we do not.
 10            Q.     And if a
 11
 12
 13                                         right?
 14            A.     Sorry.     Work on a new app?
 15            Q.     Yes, developing an iOS app.
 16
 17            , right?
 18            A.     No.    I guess they could use a very
 19     expensive product that costs tens of thousands of
 20     dollars to develop, as you put it, an iOS app, but
 21     they wouldn't need our product to develop an iOS
 22     app.
 23            Q.     If a
 24
 25

                                                                 Page 207

                                  Veritext Legal Solutions
                                       866 299-5127
Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 5 of 8
                               ATTORNEY'S EYES ONLY

   1                is it?
   2           A.     No,
   3
   4           Q.     So if someone,
   5
   6
   7
   8
   9           A.     Are you asking me personally if I have any
 10
 11            Q.     I meant Corellium.
 12            A.     Oh, correct.
 13
 14
 15
 16                   In fact,
 17
 18
 19
 20                                                                  our
 21                   in the past with that.
 22                   MR. VINE:      Gabe, whenever you're at a
 23            natural breaking point, that would be helpful.
 24                   MR. GROSS:       Okay.
 25     BY MR. GROSS:

                                                                 Page 208

                                  Veritext Legal Solutions
                                       866 299-5127
Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 6 of 8
                               ATTORNEY'S EYES ONLY

   1           Q.     If a Corellium customer, using your
   2
   3
   4
   5
   6
   7                  MR. VINE:      Objection.
   8                  THE WITNESS:        Correct.           Just as
   9
 10
 11
 12
 13                   We do, however, as I mentioned before,
 14
 15
 16
 17
 18     BY MR. GROSS:
 19            Q.     What recourse would that be, if you know?
 20            A.
 21                                                                        but
 22     I'm not a lawyer.         So I'll defer it to that lawyer
 23     too.
 24            Q.     The series of hypotheticals we just
 25

                                                                       Page 209

                                  Veritext Legal Solutions
                                       866 299-5127
Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 7 of 8
Case 9:19-cv-81160-RS Document 635-8 Entered on FLSD Docket 08/17/2020 Page 8 of 8
